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March 31, 2020

UNITED STATES DISTRICT COURT

 

SOUTHERN DISTRICT OF NEW YORK pos LU//b/ 20
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UNITED STATES OF AMERICA, CONSENT TO PROCEED BY
VIRECCONRERENGE— TE LE-Cogs FENEN EZ .
-V-
20 cr 900 (VB) (_)
Kyle Ellison '
Defendant(s).
- -- a - waeee eee cee teen eee x
Defendant Kyle Ellison hereby voluntarily consents to

 

participate in the following proceeding via videoconference: tele Com fea cry '
Initial Appearance/Appointment of Counsel

Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
Indictment Form)

Preliminary Hearing on Felony Complaint
Bail/Revocation/Detention Hearing
Status and/or Scheduling Conference

Misdemeanor Plea/Trial/Sentence

(ale et. can (li vuB) /s/ Margaret M. Shalley

Defendant's Signature | Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Kyle Ellison Margaret M. Shalley

Print Defendant’s Name Print Defense Counsel’s Name

 

 

 

 

This proceeding was conducted by reliable videoconferencing technology.

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Date U.S. District Judge
